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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                CLARKSBURG DIVISION

ROBERT MCGREGOR,                              )
                                              )
       Plaintiff,                             )
                                              )    No. 1:12-cv-180 (Keeley)
       vs.                                    ) Electronically Filed: December 18, 2012
                                              )
PIONEER CREDIT RECOVERY, INC.,                )    JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )

                                          COMPLAINT

       NOW COMES the Plaintiff, ROBERT MCGREGOR, by and through his attorneys,

LUXENBURG & LEVIN, LLC, and for his Complaint against the Defendant, PIONEER

CREDIT RECOVERY, INC., Plaintiff alleges and states as follows:

                                 PRELIMINARY STATEMENT

       1.        This is an action for damages for violations of the Fair Debt Collection Practices

Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the West Virginia Consumer

Credit and Protection Act (hereinafter the “WVCCPA”), W. Va. Code § 46-A-2-122, et seq.

                                 JURISDICTION AND VENUE

       2.        Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                             PARTIES

       3.        Plaintiff is an individual who was at all relevant times residing in Terra Alta,

West Virginia.
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       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and W. Va. Code §

46-A-2-122(a), as he is a natural person allegedly obligated to pay a debt owed to United Student

Aid Funds, Inc.

       5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and W. Va. Code § 46-A-2-122(d), in that it held itself out to be a

company collecting a consumer debt allegedly owed by Plaintiff.

       6.      The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of Plaintiff to pay money arising out of a transaction

in which the money, property, insurance and/or services which are the subject of the transaction

were primarily for personal, family and/or household purposes. Specifically, Defendant has

alleged that Plaintiff incurred the alleged debt by co-signing for a student loan for his son.

However, Plaintiff denies that he ever co-signed any such student loan documents and believes

that his signature on those documents was forged.

       7.      On information and belief, Defendant is a corporation of the State of Delaware,

which is licensed to do business in West Virginia and which has its principal place of business in

Arcade, New York.

                                            COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

       8.      On or about July 11, 2012, the undersigned counsel for Plaintiff sent written

correspondence to Defendant via U.S. Mail, advising Defendant that he was representing

Plaintiff in regard to the aforementioned alleged debt.




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        9.      On or about July 17, 2012, the undersigned counsel for Plaintiff sent additional

written correspondence to Defendant via facsimile transmission, advising Defendant that he was

representing Plaintiff in regard to the aforementioned alleged debt.

        10.     Despite having received said notice of representation of Plaintiff from the

undersigned counsel, on or about July 16 and 17, 2012, Defendant caused two pieces of written

correspondence regarding the alleged debt to be mailed to Plaintiff, thereby communicating

directly with Plaintiff.

        11.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

                a.         Communicating with Plaintiff after Defendant had been advised that he

                           was represented by an attorney with respect to the alleged debt, in

                           violation of 15 U.S.C. § 1692c(a)(2); and

                b.         By acting in an otherwise deceptive, unfair and unconscionable manner

                           and failing to comply with the FDCPA.

        WHEREFORE, Plaintiff, ROBERT MCGREGOR, respectfully prays for a judgment

against Defendant as follows:

                a.         Statutory damages of $1,000.00 for each violation of the FDCPA;

                b.         All reasonable attorneys’ fees, witness fees, court costs and other litigation

                           costs incurred by Plaintiff; and

                c.         Any other relief deemed appropriate by this Honorable Court.




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                                              COUNT II

              (Violation of the West Virginia Consumer Credit and Protection Act)

       12.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       13.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

WVCCPA in one or more of the following ways:

               a.      Communicating with Plaintiff after Defendant had been advised that he

                       was represented by an attorney with respect to the alleged debt, in

                       violation of W. Va. Code § 46A-2-128(e); and

               b.      By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with the WVCCPA.

       WHEREFORE, Plaintiff, ROBERT MCGREGOR, respectfully prays for a judgment

against Defendant as follows:

               a.      Statutory damages of $1,000.00 for each violation of the WVCCPA;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of his claims in this action.




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                                       Respectfully Submitted,

                                       /s/ David B. Levin
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